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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

M.S. RAU ANTIQUES, L.L.C.             *                       CIVIL ACTION
(Formerly M.S. Rau, Inc.)             *
                                      *                       NO. ___________
versus                                *
                                      *                       JUDGE: ___________
ROBIN A. STEAD and                    *
SIDNEY LAMBERT                        *
                                      *                       MAGISTRATE JUDGE: __________
            Defendants                *
                                      *
* * * * * * * * * * * * * * * * * * * *

                                         NOTICE OF REMOVAL

        NOW INTO COURT, pursuant to 28 U.S.C. §§ 1452 and 1334, through undersigned

counsel, come Barbara Rivera-Fulton, Trustee of the bankruptcy estate of Sidney Lambert,

pending in the United States Bankruptcy Court, Eastern District of Louisiana, Case Number 17-

13136, and M.S. Rau Antiques, L.L.C. (formerly M.S. Rau, Inc.) (“Rau”) who respectfully

represent:

        1.       On November 21, 2017, Sidney Lambert (“Debtor”) filed a petition for relief under

Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern District

of Louisiana, which was assigned Case Number 17-13136.

        2.       Barbara Rivera-Fulton (“Trustee”) was appointed as trustee of the estate of the

Debtor and has qualified and is now acting as such trustee.

        3.       On or about January 31, 2017, Rau filed a Petition for Revocatory Action against

Debtor and others in the Civil District Court for the Parish of Orleans, State of Louisiana, bearing

Case Number 2017-0987 (the “Revocatory Action”).1 In the Revocatory Action, Rau was seeking


1 A copy of the entire State Court record (all process and pleadings) in the Revocatory Action is attached hereto as
Exhibit "A.

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to have a Quitclaim Deed executed by the Debtor, whereby he transferred a 50% undivided

ownership interest in real property located at 721-723 New Orleans, LA. 70118 to Robin A. Stead

(his spouse), annulled, revoked, and avoided pursuant to La. C.C. arts 2036, et seq.

         4.       It is well settled that upon the filing of a bankruptcy case, all state law avoidance

actions by creditors, such as the Revocatory Action here, are vested in the Trustee who has the

right under §544(b)2 to pursue such actions on behalf of the estate to the exclusion of all creditors. 3

         5.       The Trustee has discussed this matter with counsel for Rau, who has consented to

the relief sought and joined in this Notice of Removal out of abundance of caution.

         6.       The Revocatory Action described above is a civil action over which this Court has

jurisdiction pursuant to 28 U.S.C. § 1334(b). The Revocatory Action involves claims that belong

to this estate and which are subject to the exclusive control of the Trustee.

         7.       The Revocatory Action may be removed to this Court pursuant to 28 U.S.C. § 1452.

         8.       Upon removal, this action is a core proceeding under 28 U.S.C. § 157(b)(2) because

it is a matter concerning the administration of the estate, and involves the ownership of property

and avoidance of transfers, which claims are property of the estate.

         9.       Pursuant to 28 U.S.C. § 157(a) and by further authority of the Eastern District of

Louisiana General Order dated April 11, 1990, the Revocatory Action is referred to the Bankruptcy


2
 Section 544(b)(1) provides in relevant part, “... [T]he trustee may avoid any transfer of an interest of the debtor in
property ... that is voidable under applicable law by a creditor holding an unsecured claim.”

3  See Carlton v. BAWW, Inc., 751 F.2d 781, 785 (5th Cir. 1985) (The automatic stay under section 362(a) applies and
prevents a creditor from continuing to pursue a cause of action under the state avoidance law after a petition for
bankruptcy has been filed by the transferor. A bankruptcy filing simply causes the right of the creditor to vest in the
trustee and places the future of the lawsuit within the control of the bankruptcy court.); See also In re Berg, 376 B.R.
303, 311 (Bankr.D.Kan.2007) (citing In re Integrated Agri, Inc., 313 B.R. 419, 427 (Bankr.C.D.Ill.2004); Matter of
Leonard, 125 F.3d 543 (7th Cir.1997) (creditor who filed a prepetition Uniform Fraudulent Transfer Act suit against
defendant who then filed Chapter 7, which suit was removed to bankruptcy court by the Chapter 7 trustee, had no
continuing rights or interest in the suit); Security Resources, L.L.C. v. Watson, 2004 WL 3244421, at *2 (Bankr. M.D.
La. 2004) (Trustee is “the only proper party” to prosecute the Louisiana revocatory action after the filing of a
bankruptcy case.).


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Court unit of this Court, and is to be assigned an adversary proceeding case number.

       10.     In accordance with Bankruptcy Rule 9027(a)(2)(B), removal of this matter is proper

because the Revocatory Action was pending when the bankruptcy case was commenced and this

Notice of Removal was filed prior to any order having been entered terminating the automatic stay

to which the estate is entitled under 11 U.S.C. §362.

       11.     Also in accordance with Bankruptcy Rule 9027, a Notice to State Court of

Removal, along with a copy of this Notice of Removal, will be promptly filed in the Civil District

Court for the Parish of Orleans, State of Louisiana

       12.     Upon removal of the Revocatory Action, the Trustee consents to the entry of final

orders and/or judgments by the Bankruptcy Court.

       WHEREFORE, Barbara Rivera-Fulton, Trustee, prays that the above-referenced

Revocatory Action now pending in the Civil District Court for the Parish of Orleans, State of

Louisiana, bearing Case Number 2017-0987, be removed to this Court and that this Court enter

any necessary orders or process in order that this suit may proceed as if it had originally

commenced in this Court.

                                             Respectfully submitted,

                                             CHAFFE McCALL, LLP
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                                             1100 Poydras Street
                                             New Orleans, Louisiana 70163-2300
                                             Telephone: (504) 585-7000


                                             By: /s/ Fernand L. Laudumiey, IV
                                                David J. Messina, #18341
                                                Fernand L. Laudumiey, IV, #24518
                                             Attorneys for Barbara River-Fulton, Trustee


                                             -and-

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                                             LEEFE, GIBBS, SULLIVAN & DUPRE,
                                             LLC

                                             By: /s/ Michael R. Gelder_______
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                                             MICHAEL R. GELDER, La. Bar No 30210
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                                            Attorneys for M.S. Rau Antiques, L.L.C.

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing Notice of

Removal has been served via U.S. Mail and/or e-mail, postage pre-paid and properly addressed,

upon all counsel of record, this 28th day of February, 2018.



                                             /s/ Fernand L. Laudumiey, IV
                                              Fernand L. Laudumiey, IV




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